

Matter of Anonymous (2025 NY Slip Op 02389)





Matter of Anonymous


2025 NY Slip Op 02389


Decided on April 24, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 24, 2025

PM-101-25
[*1]In the Matter of Anonymous, an Applicant for Admission to Practice as an Attorney and Counselor at Law.

Calendar Date:April 7, 2025

Before:Pritzker, J.P., Lynch, Fisher, Powers and Mackey, JJ.





Per Curiam.
Applicant is a 56-year-old resident of Brazil and received a Bachelor of Laws in 1996 and a Master of Laws in 2000. He passed the bar examination in New York in February 2020. Following a subcommittee interview and a hearing, this Court's Committee on Character and Fitness issued a decision recommending disapproval of his application for admission. Applicant now petitions this Court for an order granting his application for admission to practice notwithstanding the Committee's decision (see Rules of App Div, 3d Dept [22 NYCRR] § 805.1 [j]).
We deny the petition. Every applicant for admission to the practice of law in this state has the burden to demonstrate that he or she possesses the character and general fitness requisite for admission (see Matter of Anonymous, 97 NY2d 332, 334 [2002]; Matter of Anonymous, 233 AD3d 1158, 1158-1159 [3d Dept 2024]). In our opinion, the Committee fully and reasonably evaluated the evidence presented in support of applicant's application for admission to practice, including the testimony proffered at the hearing, concluding that applicant does not presently possess the requisite character and general fitness for an attorney and counselor-at-law (see Judiciary Law § 90 [1] [a]; Matter of Anonymous, 137 AD3d 1476, 1476 [3d Dept 2016]; Matter of Anonymous, 119 AD3d 1069, 1069-1070 [3d Dept 2014], lv denied 24 NY3d 905 [2014]). Accordingly, we decline to disturb the Committee's decision in this regard and, therefore, deny the application.
Pritzker, J.P., Lynch, Fisher, Powers and Mackey, JJ., concur.
ORDERED that the petition is denied.








